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 7
     Attorneys for Defendants CITY OF SACRAMENTO, BRIAN BRUST, an individual, and DAVID
 8   LAUCHNER, an individual
 9
                                    UNITED STATES DISTRICT COURT
10
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
11
12                                     SACRAMENTO DIVISION

13
     WARIS GILDERSLEEVE,                          )        Case No.: 2:22-cv-02145-JAM-AC
14                                                )
15                               Plaintiff,       )        STIPULATION TO CONTINUE TRIAL
                                                  )        AND CASE DEADLINES
16                        vs.                     )
                                                  )        ORDER MODIFYING PRETRIAL
17   CITY OF SACRAMENTO; BRIAN BRUST,)                     SCHEDULING ORDER (ECF 18)
18   an individual, and DAVID LAUCHNER, an)
     individual, and DOES 1 through 50, inclusive )
19                                                )
                                 Defendants.      )
20                                                )
21           IT IS HEREBY STIPULATED, and respectfully requested, by and between Plaintiff and
22   Defendants by and through their designated counsel, that:
23           WHEREAS, Defense Counsel Serena Warner and Ethan Zertucha from Angelo, Kilday &
24   Kilduff LLP have recently substituted into this litigation;
25           WHEREAS, defense counsel needs some additional time to become familiar with the case
26   and the initial disclosures;
27           WHEREAS, the current deadline to disclose experts is on May 24, 2024;
28           WHEREAS, defense counsel cannot meaningfully assess the case in order to disclose the

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                              ORDER MODIFYING PRETRIAL SCHEDULING ORDER
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 1   appropriate experts by the current deadline;
 2            WHEREAS, the current deadline to complete non-expert discovery is July 19, 2024;
 3            WHEREAS, defense counsel cannot prepare sufficiently to conduct all depositions and
 4   written discovery needed prior to the current discovery deadline and, additionally, lead defense
 5   attorney Serena Warner is scheduled to be out of state from July 10 through 30, 2024, which further
 6   limits the time to complete the discovery based on the current schedule;
 7            WHEREAS, counsel for the parties have met and conferred on the scheduling order
 8   following the recent substitution of counsel for Defendants;
 9            WHEREAS, the parties through their counsel have come to the agreement to continue the
10   current deadlines by approximately six to seven months given the circumstances;
11            WHEREAS, the current case schedule is set as:
12            Expert Witness Disclosures:                                May 24, 2024
13            Discovery Cutoff:                                          July 19, 2024
14            Last Day to File Dispositive Motion:                       September 13, 2024
15            Dispositive Motion Hearing:                                November 5, 2024 at 1:30PM
16            Final Pretrial Conference:                                 January 17, 2025 at 10:00AM
17            Trial:                                                     February 24, 2025 at 9:00AM
18            WHEREAS, with the Court’s approval, the parties stipulate to extend discovery dates and
19   set the case schedule as proposed below:
20    Matter                           Current Deadline                 Agreed Upon and Proposed
                                                                        Deadline
21    Expert Witness Disclosure        May 24, 2024                     December 16, 2024
22
      Discovery Cutoff                 July 19, 2024                    February 10, 2025
23
      Last Day to File Dispositive September 13, 2024                   April 14, 2025
24    Motion
      Dispositive Motion Hearing November 5, 2024 at 1:30PM             June 16, 2025
25
      Final Pretrial Conference        January 17, 2025 at 10:00AM      August 15, 2025
26
      Trial                            February 24, 2025 at 9:00AM      September 18, 2025
27
28
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                             ORDER MODIFYING PRETRIAL SCHEDULING ORDER
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 1   IT IS SO STIPULATED.
 2    Dated: June 6, 2024                            ANGELO, KILDAY & KILDUFF, LLP
 3                                                        /s/ Serena M. Warner
 4                                                   By:_________________________________
                                                         SERENA M. WARNER
 5                                                       Attorneys for Defendants CITY OF
                                                         SACRAMENTO; BRIAN BRUST, and
 6                                                       DAVID LAUCHNER
 7    Dated: June 6, 2024                            LAW OFFICES OF JOHNNY L. GRIFFIN,
                                                     III
 8
 9
                                                     By:__/s/ Manolo Olaso_________________
10                                                      JOHNNY L. GRIFFIN III
                                                        MANOLO OLASO
11                                                      Attorney for Plaintiff WARIS
                                                        GILDERSLEEVE
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                            ORDER MODIFYING PRETRIAL SCHEDULING ORDER
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 1                     ORDER MODIFYING PRETRIAL SCHEDULING ORDER
 2          Pursuant to the stipulation of the Parties, the Pretrial Scheduling Order is MODIFIED as
 3   follows:
 4
 5                  Event                   Current Deadline                       New Deadline
 6    Expert Witness Disclosure            May 24, 2024              December 16, 2024
 7
      Joint mid-litigation statement                                 Fourteen (14) days prior to the close
 8                                                                   of discovery
      Discovery Cutoff                     July 19, 2024             February 10, 2025
 9
      Last Day to File Dispositive September 13, 2024                April 14, 2025
10    Motion
11    Dispositive Motion Hearing   November 5, 2024                  June 17, 2025, at 01:00 p.m. 1

12    File Joint Pretrial Statement                                  August 07, 2025

13    Final Pretrial Conference            January 17, 2025          August 15, 2025, at 10:00 a.m.

14    Trial (6-7 Days)                     February 24, 2025         September 29, 2025, at 09:00 a.m.

15
16          All other instructions contained in the May 10, 2023 Pretrial Scheduling Order (ECF No.

17   12) shall remain in effect.
18
            IT IS SO ORDERED.
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20
      Dated: June 06, 2024                              /s/ John A. Mendez
21                                                      THE HONORABLE JOHN A. MENDEZ
22                                                      SENIOR UNITED STATES DISTRICT JUDGE

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                Calendars are subject to last minute changes. Contact the Courtroom Deputy for available dates.
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                               ORDER MODIFYING PRETRIAL SCHEDULING ORDER
